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10   Countering Digital Hate, Inc. and
     Center for Countering Digital Hate Ltd.
11
12
                               UNITED STATES DISTRICT COURT
13                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
14
       X CORP.,
15
                                     Plaintiff,            Case No. 3:23-cv-03836-CRB
16
                 v.                                        DECLARATION OF JOHN C.
17                                                         QUINN IN SUPPORT OF CCDH’S
18     CENTER FOR COUNTERING DIGITAL                       MOTION FOR FEES AND COSTS
       HATE, INC., et al.,                                 PURSUANT TO CAL. CODE CIV.
19                                                         PROC. § 425.16
                                     Defendants.
20
21
22   I, John C. Quinn, declare as follows:
23          1.        I am a partner in the law firm Kaplan Hecker & Fink LLP (“Kaplan Hecker” or
24   “KHF”), attorneys for Defendants Center for Countering Digital Hate, Inc. and Center for
25   Countering Digital Hate Ltd. (collectively, the “CCDH Defendants”). I submit this declaration in
26   support of the CCDH Defendants’ motion for attorney’s fees and costs pursuant to California Code
27   of Civil Procedure § 425.16(c)(1). All statements in this declaration are based upon my personal
28   knowledge and review of relevant documents, and, if called upon to testify, I could and would



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 1   testify to the facts set forth below.
 2                            Kaplan Hecker’s Retention and Defense Efforts
 3             2.    On July 20, 2023, Plaintiff X Corp. sent a pre-filing letter to the CCDH Defendants,
 4   threatening suit under the Lanham Act, among other things. See Exhibit A. The CCDH Defendants
 5   retained Kaplan Hecker to respond to it. See Exhibit B.1
 6             3.    Kaplan Hecker is a New York City-based boutique litigation firm. We have been
 7   recognized as the 2024, 2022, 2021, and 2020 Boutique Firm of the Year nationwide by Benchmark
 8   Litigation. In 2019, Benchmark Litigation also recognized KHF as one of the 10 “Top Boutique
 9   Firms” in the country, just two years after the firm’s founding. Our firm and partners have received
10   numerous other commendations and awards from legal organizations and publications including
11   The American Lawyer, the American Bar Association, Lawdragon, Best Lawyers, and a number of
12   others.
13             4.    On July 31, 2023, Plaintiff X Corp. filed this lawsuit against the CCDH Defendants
14   and 50 Doe Defendants in the Northern District of California. See Dkt. 1. Pursuant to the existing
15   engagement, the CCDH Defendants asked Kaplan Hecker to lead the defense of the suit. Kaplan
16   Hecker facilitated an introduction to co-counsel at Cohen Williams LLP (“Cohen Williams” or
17   “CW”), whom the CCDH Defendants also retained as local counsel.
18             5.    On August 7, 2023, Plaintiff X Corp. filed an amended complaint. Among other
19   things, the amended complaint added an additional defendant: the Stichting European Climate
20   Foundation (“ECF”).
21             6.    To defend the CCDH Defendants against this lawsuit, KHF assembled a highly
22   capable team of attorneys. The KHF team included Roberta A. Kaplan, a founding partner; myself;
23   Matthew Craig, special counsel; Amit Jain, a senior associate; and Avisha Sabaghian, a law clerk.
24   The CW team includes Marc Williams, a founding partner; and Neil Jahss, counsel. More
25   information about each of these members of the team is provided below.
26
27
     1
       For the avoidance of doubt, the CCDH Defendants do not seek fees or costs for work in connection
28   with this pre-filing response; we provide this information only for context and background around
     the CCDH Defendants’ engagement of Kaplan Hecker.

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 1          7.      All of these attorneys were necessary and reasonable for this litigation. Although
 2   X Corp.’s claims proved baseless, defending against them was far from simple. Indeed, the
 3   litigation was unprecedented: To our knowledge, no one had ever previously sued a nonprofit to
 4   seek such crushing damages based on non-commercial data collection for research purposes,
 5   public speech that flowed from this data collection, and third parties’ reactions to this speech.
 6   Moreover, the operative complaint asserted four claims, and accused the CCDH Defendants of
 7   engaging in purportedly improper data collection in two distinct ways that allegedly implicated
 8   four different, lengthy contracts rife with technical terms—two of which the CCDH Defendants
 9   have yet to see. Furthermore, had X Corp. prevailed, its victory could have severely and
10   permanently chilled good-faith research and reporting on harmful content hosted by social media
11   platforms. Given the complexity of the issues and the high stakes, and based on my experience, I
12   believe KHF staffed and litigated this case in a reasonable and efficient manner.
13          8.      Upon the filing of the original complaint, the KHF team immediately began to
14   evaluate the complaint and amended complaint, consult with our clients, and consider and develop
15   a potential anti-SLAPP motion to strike X Corp.’s three claims arising under state law (out of its
16   four total claims). We promptly settled on an anti-SLAPP motion to strike these deficient state-
17   law claims, which arose from acts in furtherance of the CCDH Defendants’ exercise of their speech
18   rights (including their newsgathering activity and their speech itself).
19          9.      Given the novelty of X Corp.’s theories, the complicated factual allegations, and
20   the technical aspects of the dispute, drafting and filing the anti-SLAPP motion required substantial
21   effort. KHF attorneys pored over the past and present terms of service for X Corp. and Brandwatch
22   and analyzed the three CCDH reports on which X Corp.’s SLAPP suit centered. Our team also
23   researched legal issues ranging from the procedural interplay between California’s anti-SLAPP
24   statute and the Federal Rules of Civil Procedure, to numerous substantive aspects of state contract
25   and tort law, to the many state and federal statutes and constitutional protections that evinced a
26   pro-transparency and pro-speech public policy cognizable under California contract law, to the
27   scope of the First Amendment’s protections against damages based on third-party reactions to
28   protected speech.



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 1           10.     KHF attorneys also worked to keep our clients, the CCDH Defendants, apprised of
 2   our progress and involved in litigation strategy and decision-making. The CCDH Defendants, in
 3   turn, assisted KHF attorneys in understanding the nature of CCDH’s research and reporting and
 4   the technical aspects of the data collection that enabled that research and reporting.
 5           11.     In an effort to keep litigation costs low and to advance judicial economy, the KHF
 6   team also engaged productively with X Corp.’s counsel on two stipulations. The first stipulation,
 7   filed on October 2, 2023 and granted on October 3, 2023, set forth an agreed-upon briefing
 8   schedule and adjourned various discovery and case management deadlines until after the Court’s
 9   rulings at the pleading stage. See Dkt. 24; Dkt. 30. The second stipulation, filed on November 9,
10   2023 and granted on November 15, 2023, allowed the CCDH Defendants to file a single, combined
11   motion of no longer than 25 pages combining the CCDH Defendants’ anti-SLAPP and motion to
12   dismiss arguments, while enabling X Corp. to file a single memorandum in opposition of no longer
13   than 35 pages combining its responses to the CCDH Defendants and any amicus briefs in support
14   of the CCDH Defendants. See Dkt. 42; Dkt. 44.
15           12.     The KHF team also attempted to narrow the litigation early, by identifying, and
16   alerting opposing counsel to, key factual inaccuracies underlying counts two through four of X
17   Corp.’s operative complaint (namely, its federal Computer Fraud and Abuse Act claim, its state-
18   law claim for intentional interference with contractual relations, and its state-law claim for
19   inducing breach of contract). See Exhibit C (“CCDH Letter”). On November 10, 2023, I sent the
20   CCDH Letter to X Corp.’s counsel, attached and linked to evidence disproving specific allegations
21   in the complaint, and urged counsel to withdraw counts two through four consistent with his duty
22   of candor to the court. See id. at 1-5.
23           13.     X Corp.’s counsel sent a letter back on November 15, 2023, which expressly
24   refused to withdraw any claims, and was otherwise largely non-responsive. See Exhibit D (“X
25   Corp. Letter”). The X Corp. Letter offered no specific defense of the allegations disproved by the
26   evidence I appended to the CCDH Letter. Instead, it diverted to other contentions and inaccurately
27   described the publicly available contents of CCDH’s February 9, 2023 report. See id. at 1.
28



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 1          14.     The CCDH Defendants filed a combined motion to dismiss and anti-SLAPP motion
 2   to strike on November 16, 2023. See Dkt. 47.
 3          15.     As relevant, the motion asserted two independent grounds that brought X Corp.’s
 4   claims doubly within the scope of the anti-SLAPP statute; five independent grounds for dismissal
 5   of X Corp.’s contract claim (including (1) the lack of a breach, (2) public policy, (3) X Corp.’s
 6   failure to allege damages cognizable under state law, (4) X Corp.’s failure to allege damages
 7   recoverable under the First Amendment, and (5) X Corp.’s failure to comply with Federal Rule of
 8   Civil Procedure 9(g)); five independent grounds for dismissal of X Corp.’s tort claims (including
 9   (1) lack of causation or inducement, (2) lack of any underlying breach, (3) lack of knowledge, (4)
10   failure to allege damages recoverable under the First Amendment, and (5) failure to allege damages
11   proximately caused by the purported interference or breach); an additional argument for dismissal
12   of the Doe Defendants; and multiple arguments against leave to amend.
13          16.     The CCDH Defendants received X Corp.’s 33-page opposition brief on
14   December 22, 2023. See Dkt. 62. The CCDH Defendants, through KHF, prepared a reply brief
15   that thoroughly rebutted X Corp.’s contentions, and filed that reply brief on January 10, 2024. See
16   Dkt. 65.
17          17.     On February 1, 2024, the CCDH Defendants received notice that the Court had
18   scheduled a motion to dismiss hearing for February 23, 2024. See Dkt. 68. The KHF team
19   immediately set to work preparing for oral argument. Due to the complexity of the technical and
20   legal issues presented, I and the KHF team prepared additional written materials such as outlines
21   and key case summaries, and engaged in numerous prep sessions and multiple moots. The wide-
22   ranging argument, which the Court rescheduled for February 29, 2024, ultimately lasted over one
23   and a half hours.
24          18.     On March 25, 2024, the Court issued an order granting the CCDH Defendants’
25   motion in full. See Dkt. 75.
26          19.     Relevant here, the Court agreed that the anti-SLAPP statute applied, see id. at 12-
27   21; found that X Corp. failed to demonstrate a probability of prevailing on its breach of contract
28   claim on three of the five independent grounds argued by the CCDH Defendants (including (1) X



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 1   Corp.’s failure to allege damages cognizable under state law, (2) X Corp.’s failure to allege
 2   damages recoverable under the First Amendment, and (3) X Corp.’s failure to comply with Rule
 3   9(g)), see id. at 21-35; dismissed the tort claims on two of the five independent grounds argued by
 4   the CCDH Defendants (including (1) lack of causation or inducement and (2) failure to allege
 5   damages recoverable under the First Amendment), see id. at 49-51; dismissed the Doe Defendants,
 6   see id. at 51; and denied leave to amend on two independent bases, see id. at 35-43, 51. Given
 7   these ample bases for striking X Corp.’s state-law claims with prejudice, the Court declined to
 8   reach the CCDH Defendants’ other arguments. The Court’s order favorably cited or quoted my
 9   oral argument several times. See id. at 26, 40-43.
10          20.      Also on March 25, 2024, the Court issued its Judgment in favor of the Defendants.
11   See Dkt. 77.
12                  Kaplan Hecker’s Fees in Connection with the Anti-SLAPP Motion
13          21.      Together with this declaration, I submit as Exhibit E (the “Fees Spreadsheet”) a
14   summary of the attorney’s fees and other expenses incurred in connection with defending against
15   X Corp.’s state-law claims in this suit, including successfully litigating the CCDH Defendants’
16   anti-SLAPP motion to strike, and litigating this motion for attorney’s fees.
17          22.      As set forth in greater detail in the Fees Spreadsheet, the CCDH Defendants seek
18   to recover a total of $311,261.64 in fees and costs based on the amounts they were actually charged
19   for KHF’s efforts.
20          23.      The Fees Spreadsheet delineates the efforts that several partners and associates put
21   toward the CCDH Defendants’ successful anti-SLAPP motion. In particular, it describes the tasks
22   performed by:
23                   1. Two partners: Roberta A. Kaplan and myself;
24                   2. One special counsel: Matthew J. Craig;
25                   3. One senior associate: Amit Jain; and
26                   4. One law clerk: Avisha Sabaghian.
27          24.      As set forth below, the fees we request represent a discount of more than 50% as
28   compared to KHF’s commercial rates.



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 1          25.     The KHF website biographies of the attorneys who worked on this matter are also
 2   attached as Exhibit F. Those biographies are summarized below.
 3          26.     Roberta A. Kaplan is a founding partner of our firm and performed 10.9 hours of
 4   work in connection with the anti-SLAPP motion. Ms. Kaplan has over three decades of legal
 5   experience, including as a former partner at Paul, Weiss, Rifkind, Wharton & Garrison. She is a
 6   renowned litigator with extensive experience in commercial and constitutional litigation, and
 7   among other things successfully argued before the United States Supreme Court in the landmark
 8   case United States v. Windsor, 570 U.S. 744 (2013). Ms. Kaplan has been recognized as the
 9   “Attorney of the Year” by the New York Law Journal, “Litigator of the Year” by The American
10   Lawyer, “Lawyer of the Year” by Above the Law, and “Most Innovative Lawyer of the Year” by
11   the Financial Times. She was recently named to Forbes’ inaugural list of America’s Top 200
12   Lawyers, among many other awards and recognitions.
13          27.     I am a partner of our firm and performed 52.2 hours of work in connection with the
14   anti-SLAPP motion, including handling the oral argument. I have practiced law for more than
15   twelve years and have significant experience with complex civil litigation, including large fraud
16   cases, complex multi-jurisdictional litigation and arbitration proceedings, and progressive public
17   interest and constitutional matters. I was one of KHF’s founding attorneys, and I have been
18   recognized as a “Rising Star” by the New York Law Journal, named in Crain’s New York’s “40
19   Under 40,” and repeatedly recognized on Lawdragon’s lists of “Leading Lawyers in America” and
20   “Leading Litigators in America.”
21          28.     Mr. Craig, special counsel, performed 72.4 hours of work in connection with the
22   anti-SLAPP motion. A 2013 graduate of New York University School of Law, magna cum laude,
23   Mr. Craig has a decade of experience with both trial and appellate litigation. Mr. Craig has been
24   recognized by Lawdragon on its list of “The Next Generation,” and he is a former clerk for Judge
25   Allyne R. Ross of the Eastern District of New York and Judge Gerard E. Lynch of the Second
26   Circuit.
27          29.     Mr. Jain, a senior associate, performed 181.9 hours of work in connection with the
28   anti-SLAPP motion. A 2018 graduate of Yale Law School, Mr. Jain has a diverse range of



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 1   litigation experience as a criminal defense attorney with the Bronx Defenders, an impact litigator
 2   and policy counsel at the Asylum Seeker Advocacy Project, and a general civil litigator at both
 3   the trial and appellate level at KHF. He is a former clerk for Judge Diana Gribbon Motz of the
 4   Fourth Circuit and Justice Sonia Sotomayor of the Supreme Court of the United States.
 5          30.     Ms. Sabaghian, a law clerk and 2022 graduate of Harvard Law School, performed
 6   169.7 hours of work on discrete research tasks in connection with the anti-SLAPP motion.
 7          31.     KHF attorneys (including myself) kept daily, contemporaneous time records
 8   containing descriptions of the work that we did and the amount of time that we spent in doing it.
 9   As a matter of general practice, I reviewed these time records to verify the accuracy,
10   appropriateness and fairness of the bills incurred by the CCDH Defendants in connection with
11   KHF’s representation before invoicing the CCDH Defendants. For purposes of this motion, in
12   certain instances where anti-SLAPP and non-anti-SLAPP-related tasks were grouped together into
13   time entries, we drew inferences from other time entries and conservatively estimated the
14   minimum amount of time that was spent solely on the compensable tasks listed below. In addition,
15   in certain instances we revised time narratives to describe the work performed at a slightly higher
16   level of generality, so as to avoid unnecessary risk of disclosure of potentially privileged
17   information. (For the avoidance of doubt, it is neither our nor the CCDH Defendants’ intention to
18   waive any privilege or protection; in fact, we do not have authority to waive such privilege or
19   protection and have instead been directed and instructed to maintain and assert such privilege and
20   protection.)
21          32.     As set forth in detail in the Fees Spreadsheet, and as explained in the accompanying
22   memorandum of law, the underlying, compensable litigation efforts here included: (1) reviewing
23   the complaint and amended complaint and identifying/developing a defense strategy; (2)
24   researching and drafting the successful anti-SLAPP motion and supporting documents; (3)
25   meeting and communicating with our clients about the defense strategy and the anti-SLAPP
26   motion; (4) preparing the two stipulations relating to the anti-SLAPP motion; (5) researching and
27   communicating with X Corp.’s counsel about the false allegations underlying counts two, three,
28   and four of the operative complaint; (6) reviewing X Corp.’s opposition brief and researching and



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 1   drafting a reply in support of the successful anti-SLAPP motion; (7) preparing for and participating
 2   in oral argument on the anti-SLAPP motion; and (8) preparing this motion for attorney’s fees and
 3   costs.
 4            33.   As illustrated in the Fees Spreadsheet, we have reduced the total hours spent on the
 5   first seven categories of tasks (i.e., everything except this motion for attorney’s fees and costs) by
 6   25% (or, phrased differently, multiplied the hours by a factor of 0.75). We did this as a
 7   conservative (or perhaps the appropriate term is generous) means of accounting for the fact that
 8   one of X Corp.’s four claims arose under federal law and therefore was not subject to the anti-
 9   SLAPP motion. Notably however (and explaining the conservatism, or generosity, of the
10   approach), X Corp.’s federal claim involved substantial factual and legal overlap with X Corp.’s
11   state tort claims; all three arose out of the CCDH Defendants’ allegedly unlawful use of a social-
12   media monitoring tool created by Brandwatch.
13            34.   The CCDH Defendants and their insurer have paid for all services set forth in the
14   Fees Spreadsheet (except for those services related to the fee motion, for which payment is not yet
15   due). For purposes of this fee motion, and as set forth in the Fees Spreadsheet, the CCDH
16   Defendants seek the attorney’s fees they were actually charged, which represent discounts of more
17   than 50% as compared to KHF’s commercial rates. Specifically, for 2023, the CCDH Defendants
18   were charged an hourly rate of $950.00 for Ms. Kaplan’s services; $900.00 for mine; $875.00 for
19   Mr. Craig’s services; $700.00 for Mr. Jain’s services; and $550.00 for Ms. Sabaghian’s services.
20   For 2024, KHF offered the CCDH Defendants an additional discount, under which they were
21   charged an hourly rate of $750.00 for Ms. Kaplan’s services; $725.00 for mine; $700.00 for Mr.
22   Craig’s services; $575.00 for Mr. Jain’s services; and $350.00 for Ms. Sabaghian’s services.
23            35.   KHF agreed to represent the CCDH Defendants at these rates, which again are far
24   below our commercial rates (in some cases by nearly 60%), due to KHF’s strong commitment to
25   litigating in the public interest, our recognition of the burdens imposed by complex federal
26   litigation on nonprofit defendants, and our appreciation of the high stakes this litigation posed for
27   good-faith research and reporting efforts. Had KHF not represented the CCDH Defendants in this
28   matter, I am confident we could have taken on a different client representation at our commercial



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 1   hourly rates.
 2            36.     The partners of KHF determine our billing rates based on the experience and skill
 3   level of our personnel, as well as our collective knowledge of the legal market. Based on my
 4   understanding of the relevant case law, my experience at KHF since its founding, and my
 5   familiarity with the rates charged by KHF’s competitors, I am confident that the discounted rates
 6   that were charged by KHF in this case are significantly lower than the rates charged by other
 7   litigation firms and attorneys of comparable skill, reputation, and experience.
 8                   Kaplan Hecker’s Costs in Connection with the Anti-SLAPP Motion
 9            37.     In addition to the attorney’s fees discussed above, the CCDH Defendants incurred
10   costs in connection with their anti-SLAPP motion. KHF maintains records of such costs in the
11   regular course of business. I have reviewed KHF’s record of costs for this case, and I am generally
12   familiar with these records and the processes by which they are created and maintained.
13            38.     The only KHF costs for which the CCDH Defendants seek recovery in connection
14   with this matter are costs of legal research—specifically, the Westlaw and Bloomberg research
15   costs set forth in the table below, all of which were paid by the CCDH Defendants or their insurer:
16                  Month                          Expense                    Total Monthly Costs
17    August 2023                        Westlaw (legal research)         $1,293.66
18    September 2023                     Westlaw (legal research)         $623.34
19    October 2023                       Westlaw (legal research)         $102.45
20    October 2023                       Bloomberg (legal research)       $1.20
21    January 2024                       Westlaw (legal research)         $50.87
22    Total                                                               $2,071.52
23            39.     These costs are correctly stated, allowable by law, and were necessarily incurred.
24            40.     For purposes of this motion, we have again applied a 25% discount to any expenses
25   before this Court’s Order in order to account for X Corp.’s federal CFAA claim (and we have again
26   exempted the costs pertaining solely to this motion for attorney’s fees and costs from this discount).
27   With that in mind, the CCDH Defendants seek $1,553.65 in costs they paid to KHF.
28



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 1                           The CCDH Defendants’ Conferral with X Corp.
 2          41.       On Friday, April 5, 2024, at 12:00 PM Pacific Time, Mr. Jain and I met and
 3   conferred via telephone with opposing counsel, James Jonathan Hawk, for the purpose of
 4   attempting to resolve any disputes with respect to the motion. The parties did not reach agreement
 5   on the motion.
 6
 7          I declare under penalty of perjury that the foregoing is true and correct.
 8
 9   Dated: New York, New York
            April 8, 2024                                 John C. Quinn
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